Case 23-11061-amc   Doc 54-2 Filed 03/28/25 Entered 03/28/25 10:47:08   Desc
                           Exhibit B Page 1 of 3




                        Exhibit “B”
 Case 23-11061-amc         Doc 54-2 Filed 03/28/25 Entered 03/28/25 10:47:08                Desc
                                  Exhibit B Page 2 of 3




      _____________________________________________________________________________________
                       1325 Franklin Avenue Suite 160, Garden City, NY 11530
                                  t: 212.471.5100 f:212.471.5150
                                        friedmanvartolo.com

                                                                        March 7, 2025

BRAD J. SADEK
Sadek Law Offices, LLC
1500 JFK Boulevard, Ste 220
Philadelphia, PA 19102
brad@sadeklaw.com
VIA E-MAIL AND REGULAR MAIL

RE:     Caroline Belt
        Bankruptcy Case No. 23-11061-amc

Dear Counselor:

       Please be advised, this office represents Rushmore Servicing, as servicer for U.S. Bank
National Association, not in its individual capacity but solely as trustee for RMTP Trust, Series
2021 Cottage-TT-V with regard to the above referenced matter.

        Our client has advised us that payments have not been tendered in accordance with the
Stipulation entered by Court on October 22, 2024.

        This notice is to advise that your client has defaulted on payments required under the terms
of the Order and is due for as follows:

        Monthly payments 10/01/2024 - 12/01/2024 @ $2,353.96                $ 7,061.88
        Monthly payments 01/01/2025 - 02/01/2025 @ $2,457.66                $ 4,915.32
        Total Due and Owing good through 02/17/2025                         $ 11,977.20


Payment should be made by bank or certified funds and mailed directly to:

Rushmore Servicing
PO Box 619094
Dallas, Texas 75261-9741

        Pursuant to the Stipulation, you now have ten (10) days, from the date of this notice, to
cure this default. Failure to cure default may result in the enforcement of our state law rights.
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                                 Exhibit B Page 3 of 3



Acceptance of partial payments will not constitute a waiver of our client’s rights to pursue the
default in the event the partial payment is not enough to cure the entire default.


                                                   Yours truly,
                                                   _/s/ Lauren M. Moyer___________
                                                   Lauren M. Moyer, Esquire




cc:

United States Trustee
Office of United States Trustee
Robert N.C. Nix Federal Building
900 Market Street, Suite 320
Philadelphia, PA 19107

KENNETH E. WEST
Office of the Chapter 13 Standing Trustee
190 N. Independence Mall West, Suite 701
Philadelphia, PA 19106

Caroline Belt
2158 Green Ridge Drive
Warrington, PA 18976

Bruce M. Belt
2158 Green Ridge Drive
Warrington, PA 18976




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